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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


 JENNIFER COUSINS, MATTHEW
 COUSINS, P.C., M.C., S.C., N.C., WILL
 LARKINS, DAVID DINAN, VIKRANTH
 REDDY GONGIDI, K.R.D., R.R.D. and
 CENTERLINK, INC.,

               Plaintiffs,

 v.                                                     Case No. 6:22-cv-1312-WWB-LHP

 THE SCHOOL BOARD OF ORANGE
 COUNTY, FLORIDA, THE SCHOOL
 BOARD OF INDIAN RIVER COUNTY,
 FLORIDA, THE SCHOOL BOARD OF
 DUVAL COUNTY, FLORIDA and THE
 SCHOOL BOARD OF PALM BEACH
 COUNTY, FLORIDA,

               Defendants.
                                          /

                                          ORDER

        Plaintiffs challenge the constitutionality of Chapter 22-22, 2022 Laws of Florida

 (H.B. 1557), codified as amended at Fla. Stat. § 1001.42, and seek injunctive relief, as

 well as nominal and compensatory damages, against each Defendant. (See generally

 Doc. 79). The cause is currently before the Court on Plaintiffs’ Motion for Preliminary

 Injunction (Doc. 45), Defendants’ Responses (Doc. Nos. 49, 50, 54, 55), intervenor, the

 Attorney General of Florida’s Opposition (Doc. 52), and Plaintiffs’ Reply (Doc. 67). 1


        1 Defendants the School Board of Duval County, the School Board of Indian River
 County, and the School Board of Palm Beach County’s Responses fail to comply with this
 Court’s January 13, 2021 Standing Order. Additionally, Plaintiffs’ Motion and the Attorney
 General of Florida’s Opposition fail to comply with the page limitations set forth in Local
 Rule 3.01. See M.D. Fla. R. 3.01(a)–(b) (providing that a motion may be “no longer than
 twenty-five pages inclusive of all parts” and a response may be “no longer than twenty
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 I.     BACKGROUND

        Plaintiffs consist of a group of parents and their school-age children that attend

 school in Orange and Indian River Counties (collectively, “Parent and Student

 Plaintiffs”) and a non-profit group, CenterLink, Inc. (“CenterLink”), that has members

 operating in Orange, Duval, and Palm Beach Counties. (Doc. 79, ¶¶ 13–16). In 2022,

 Florida enacted House Bill 1557, which took effect on July 1, 2022, and amended section

 1001.42, Florida Statutes. (Id. ¶¶ 1, 21). As relevant to this dispute, the newly enacted

 provisions of section 1001.42 prohibit “[c]lassroom instruction by school personnel or third

 parties on sexual orientation or gender identity” for children in kindergarten through third

 grade and provide that such instruction must be age and developmentally appropriate for

 children thereafter. (Id. ¶ 21 (quoting Fla. Stat. § 1001.42(8)(c)(3))). In addition, the law

 requires school boards to “adopt procedures for notifying a student’s parent if there is a

 change in the student’s services or monitoring related to the student’s mental, emotional,

 or physical health or well-being and the school’s ability to provide a safe and supportive

 learning environment for the student[,]” bars school boards from implementing any

 procedures that prohibit school district personnel from notifying a parent regarding the

 same or “have the effect of encouraging a student to withhold from a parent such

 information[,]” and bans school district personnel from discouraging or prohibiting parental

 notification of and involvement in decisions regarding a student’s mental, emotional, or

 physical health or well-being unless “a reasonably prudent person would believe that




 pages inclusive of all parts”). In the interests of justice, the Court will consider the filings,
 but the parties are cautioned that future failures to comply with all applicable rules and
 orders of this Court may result in the striking or denial of filings without notice or leave to
 refile.



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 disclosure would result in abuse, abandonment, or neglect[.]” (Id. ¶ 22 (quoting Fla. Stat.

 § 1001.42(8)(c)(1)–(c)(2))). Defendants, the School Board of Orange County (“Orange

 County”), the School Board of Indian River County (“Indian River County”), the School

 Board of Duval County (“Duval County”), and the School Board of Palm Beach County

 (“Palm Beach County”), are the governing bodies charged with implementation of the

 new law. (Id. ¶¶ 17–20).

       The Parent and Student Plaintiffs allege that as a result of Orange and Indian River

 Counties’ implementation or contemplated implementation of the new provisions of

 section 1001.42, certain books, materials, and school activities may become unavailable

 and their speech and that of others will be chilled. (Id. ¶¶ 51–53, 59, 68, 75–78, 80–81).

 As support for these propositions, the Parent and Student Plaintiffs allege that Orange

 County has used training memorandums for staff that state that certain books may run

 afoul of the new laws and will need to be reviewed, that safe space stickers should be

 removed in certain classrooms, and that teachers should not display family photos with

 same-sex partners or wear clothing with messages supporting gay rights. (Id. ¶¶ 51, 57).

 With respect to Indian River County, the Parent and Student Plaintiffs allege that the

 County has discussed rescinding a lesbian, gay, bisexual, transgender, queer, and

 questioning (“LGBTQ+”) Administrative Resource Guide and the Superintendent plans to

 make proposed changes to the current guide. (Id. ¶ 81).

       CenterLink is a non-profit organization that provides support for its members,

 which consist of LGBTQ+ community centers across the country, including in Orange,

 Duval, and Palm Beach Counties. (Id. ¶¶ 16, 82). CenterLink alleges that a number of its

 members work with youth and provide trainings in schools. (Id. ¶¶ 87–88). As relevant to




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 this litigation, CenterLink has a member that works directly with Duval County through a

 subcontract to provide various parent and teacher trainings, collaborate on policies and

 procedures for student support and anti-bullying, and provide support for students

 referred by school district staff. (Id. ¶ 92). CenterLink alleges that since the passage of

 the amendments to section 1001.42, its Duval County member has not received any

 student referrals, its standing monthly meetings with Duval County have been canceled,

 and teachers are no longer attending its meetings. (Id. ¶¶ 93–94, 96). CenterLink also

 alleges that its member in Palm Beach County has seen a drop in student referrals from

 teachers concerned about how the new law will be implemented. (Id. ¶ 100).

        As a result of the foregoing, on July 25, 2022, Plaintiffs filed the Complaint (Doc.

 1), alleging claims against Defendants for Deprivation of Freedom of Speech and

 Expression, and Overbreadth under the First Amendment (Count I), Deprivation of Due

 Process of Law under the Fourteenth Amendment (Count II), and Deprivation of Equal

 Protection of the Laws under the Fourteenth Amendment (Count III). (See generally id.).

 Over a month later, Plaintiffs filed the Motion for Preliminary Injunction. (Doc. 45 at 25).

 The Florida Attorney General, Ashley Moody, (“Attorney General”) filed an Unopposed

 Motion to Intervene (Doc. 51), which was granted. (Doc. 62 at 6). Thereafter, Plaintiffs

 filed the First Amended Complaint, asserting the same claims against Defendants and

 also including claims for nominal and compensatory damages. (See generally Doc. 79).

 II.    LEGAL STANDARD

        “The grant or denial of a preliminary injunction is within the sound discretion of the

 district court[.]” Palmer v. Braun, 287 F.3d 1325, 1329 (11th Cir. 2002). A district court

 may only grant injunctive relief if the moving party establishes: “(1) it has a substantial




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 likelihood of success on the merits; (2) irreparable injury will be suffered unless the

 injunction issues; (3) the threatened injury to the movant outweighs whatever damage the

 proposed injunction may cause the opposing party; and (4) if issued, the injunction would

 not be adverse to the public interest.” Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir.

 2000). “In this Circuit, ‘[a] preliminary injunction is an extraordinary and drastic remedy

 not to be granted unless the movant clearly established the burden of persuasion’ as to

 each of the four prerequisites.” Id. (quoting McDonald’s Corp. v. Robertson, 147 F.3d

 1301, 1306 (11th Cir. 1998)).

 III.    DISCUSSION

         Plaintiffs seek a preliminary injunction enjoining Defendants from enforcing or

 taking actions to enforce section 1001.42(8)(c), Florida Statutes during the pendency of

 this litigation.

         A.         Evidentiary Hearing

         Along with their Motion, Plaintiffs filed a Request for Oral Argument and Evidentiary

 Hearing (Doc. 46). Thereafter, the Court ordered the parties to submit a joint notice to

 inform the Court if an evidentiary hearing was necessary to resolve the merits of Plaintiffs’

 Motion, including identifying with particularity any disputed issue of material fact or

 credibility determination that would impact the Court’s resolution of the Motion. (Doc. 47

 at 1). In the Joint Notice (Doc. 59), Plaintiffs again requested a hearing “because there

 are disputed material facts.” (Id. at 2). Defendants and the Attorney General argue that

 no evidentiary hearing is necessary because their responses to the Motion fail to raise

 any new issues of fact. (Id. at 3–6). Having reviewed the parties’ submissions, the Court

 finds that Plaintiffs have failed to state with sufficient particularity any material issue of




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 fact necessitating an evidentiary hearing. Therefore, the Court can and will resolve the

 pending Motion on the paper record submitted by the parties. See Cumulus Media, LLC

 v. Clear Channel Commc’ns, Inc., 304 F.3d 1167, 1178 (11th Cir. 2002) (“An evidentiary

 hearing is required for entry of a preliminary injunction only where facts are bitterly

 contested and credibility determinations must be made to decide whether injunctive relief

 should issue.” (quotation omitted)).

        B.     Likelihood of Success on the Merits

        In their Motion, Plaintiffs argue at length that they are likely to succeed on the

 merits of each of their claims. Specifically, Plaintiffs argue that they are likely to prevail

 on the merits of their claims that section 1001.42(8)(c) violates the First and Fourteenth

 Amendments. (Doc. 45 at 11, 16, 19). Defendants argue the contrary.

        As an initial matter, the First Amended Complaint constitutes an impermissible

 shotgun pleading. “The failure to identify claims with sufficient clarity to enable the

 defendant to frame a responsive pleading constitutes a ‘shotgun pleading.’” Beckwith v.

 BellSouth Telecomms. Inc., 146 F. App’x 368, 371 (11th Cir. 2005) (citing Byrne v.

 Nezhat, 261 F.3d 1075, 1029–30 (11th Cir. 2001)). “Shotgun pleadings wreak havoc on

 the judicial system” and “divert already stretched judicial resources into disputes that are

 not structurally prepared to use those resources efficiently.” Wagner v. First Horizon

 Pharm. Corp., 464 F.3d 1273, 1279 (11th Cir. 2006) (quotation omitted). As such, “[w]hen

 presented with a shotgun complaint, the district court should order repleading sua

 sponte.” Ferrell v. Durbin, 311 F. App’x 253, 259 n.8 (11th Cir. 2009); see also Johnson

 Enters. of Jacksonville, Inc. v. FPL Grp., Inc., 162 F.3d 1290, 1333 (11th Cir. 1998) (noting




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 that shotgun pleadings drain judicial resources, and the district should act sua sponte to

 define the issues at the earliest possible stage).

        The Eleventh Circuit has defined four types of shotgun pleadings. “The most

 common type—by a long shot—is a complaint containing multiple counts where each

 count adopts the allegations of all preceding counts, causing each successive count to

 carry all that came before and the last count to be a combination of the entire complaint.”

 Weiland v. Palm Beach Cnty. Sheriff’s Off., 792 F.3d 1313, 1321 (11th Cir. 2015). The

 second most common type “is a complaint that . . . is guilty of the venial sin of being

 replete with conclusory, vague, and immaterial facts not obviously connected to any

 particular cause of action.” Id. at 1322. “The third type of shotgun pleading is one that

 commits the sin of not separating into a different count each cause of action or claim for

 relief.” Id. at 1322–23. “Fourth, and finally, there is the relatively rare sin of asserting

 multiple claims against multiple defendants without specifying which of the defendants

 are responsible for which acts or omissions, or which of the defendants the claim is

 brought against.” Id. at 1323.

        Here, although Plaintiffs have not incorporated each count into the successive

 counts, they have run afoul of each of the remaining categories of shotgun pleading. To

 start, the First Amended Complaint is over fifty pages long and contains lengthy and

 unnecessary argument as to the reasons for the enactment of section 1001.42(8)(c), a

 recitation of proposed but unadopted amendments to the bill prior to its passage that does

 not appear to have any logical connection to Plaintiffs’ claims other than to attempt to

 besmirch the legislators involved in its passage, who are not defendants in this litigation,

 discussion of the actions of other school boards and districts that are not defendants in




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 this litigation, and citation and discussion of provisions of the new law that are not relevant

 to the challenges actually raised in the counts. Additionally, the First Amended Complaint

 contains extensive facts and anecdotes regarding the impact of the legislation on Plaintiffs

 prior to the law’s effective date, which do not appear to be logically related to any

 challenge to the enforcement or threatened enforcement of the law. Conversely, despite

 challenging the implementation of the new law by Defendants, Plaintiffs have largely

 offered only vague and conclusory factual allegations as to any actions taken by the

 various school boards that are actually named Defendants in this litigation to implement

 section 1001.42(8)(c). Moreover, each count challenges the entire amendment as

 unconstitutional, without specifying the particular subsections and portions of the new law

 Plaintiffs contend violate their constitutional rights.

        Second, the First Amended Complaint improperly lumps multiple causes of action

 into a single count. For example, Count I alleges that the entire amendment violates the

 First Amendment because it impermissibly chills speech, is viewpoint based

 discrimination, violates a student’s right to receive information, and is overbroad. Not only

 does Count I fail to specify what provision or provisions of the law Plaintiffs are challenging

 under each First Amendment theory, it also inappropriately sets forth a number of different

 First Amendment causes of action in a single count.

        Finally, the First Amended Complaint improperly asserts each of the three counts

 against each Defendant without specifying in what way each Defendant has specifically

 violated one or more Plaintiffs’ rights. Thus, the First Amended Complaint is far from a

 short and simple recitation of the facts entitling Plaintiffs to relief, and its shotgun nature




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 makes it virtually impossible for this Court to determine the likelihood of success on the

 merits of any of the claims alleged therein.

        Indian River County also astutely notes that Plaintiffs have failed to properly allege,

 or argue in their Motion for Preliminary Injunction, the elements of a claim brought against

 a local government pursuant to 42 U.S.C. § 1983. 2 “[A] municipality may be held liable

 [under § 1983] ‘only if such constitutional torts result from an official government policy,

 the actions of an official fairly deemed to represent government policy, or a custom or

 practice so pervasive and well-settled that it assumes the force of law.’” Doe v. Sch. Bd.

 of Broward Cnty., 604 F.3d 1248, 1263 (11th Cir. 2010) (quoting Denno, 218 F.3d at

 1276). Thus, “[i]n order to state a claim under § 1983 against the [school board], Plaintiff[s]

 must allege that [they] suffered a constitutional injury, and that [their] injury was caused

 by ‘a policy statement, ordinance, regulation, or decision officially adopted and

 promulgated by that body’s officers.’” Rogers v. City of Selma, 178 F. Supp. 3d 1222,

 1243 (S.D. Ala. 2016) (quoting Monell v. Dep’t of Soc. Servs. of City of New York, 436

 U.S. 658, 690 (1978)). “To hold the municipality liable, there must be ‘a direct causal link

 between a municipal policy or custom and the alleged constitutional deprivation.’” Snow

 ex rel. Snow v. City of Citronelle, 420 F.3d 1262, 1271 (11th Cir. 2005) (quoting City of

 Canton v. Harris, 489 U.S. 378, 385 (1989)). However, both the First Amended Complaint

 and Plaintiffs’ Motion fail to specify what policy or custom of each Defendant supports

 liability under the First or Fourteenth Amendments. Instead, Plaintiffs dedicate their time

 exclusively to arguing that the underlying law is unconstitutional, without specifying any



        2   “School boards constitute branches of local government and thus may be subject
 to liability under Monell.” Denno v. Sch. Bd. of Volusia Cnty., 218 F.3d 1267, 1276 n.9
 (11th Cir. 2000).



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 causal link between the actions of these Defendants and the alleged deprivation of a

 constitutional right. On this basis alone, the Court finds that Plaintiffs have failed to show

 a likelihood of success on the merits on any of the claims they attempted to allege in the

 First Amended Complaint.

        In addition to the above, each Defendant also argues that Plaintiffs lack standing

 to bring the claims alleged in the First Amended Complaint. Although the Court has

 already determined that Plaintiffs’ Motion fails for the reasons stated above, because the

 question of standing is jurisdictional, the Court will address Defendants’ arguments. “The

 Constitution limits the jurisdiction of the federal courts to actual cases or controversies.”

 Florence Endocrine Clinic, PLLC v. Arriva Med., LLC, 858 F.3d 1362, 1365 (11th Cir.

 2017) (citing U.S. Const. art. III, § 2). “One element of the case-or-controversy

 requirement is that [plaintiffs], based on their complaint, must establish that they have

 standing to sue.” Id. at 1365–66 (quoting Raines v. Byrd, 521 U.S. 811, 818 (1997)).

 “Under settled precedent, the ‘irreducible constitutional minimum’ of standing consists of

 three elements: the plaintiff must have suffered an injury in fact, the defendant must have

 caused that injury, and a favorable decision must be likely to redress it.” Trichell v. Midland

 Credit Mgmt., Inc., 964 F.3d 990, 996 (11th Cir. 2020) (quoting Lujan v. Defs. of Wildlife,

 504 U.S. 555, 560–61 (1992)). “The foremost standing requirement is injury in fact. An

 injury in fact consists of an invasion of a legally protected interest that is both concrete

 and particularized and actual or imminent, not conjectural or hypothetical.” Id. (quotations

 omitted); see also Speech First, Inc. v. Cartwright, 32 F.4th 1110, 1119 (11th Cir. 2022).

 “Because the elements of standing ‘are not mere pleading requirements but rather an

 indispensable part of the plaintiff’s case, each element must be supported . . . with the




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 manner and degree of evidence required at the successive stages of the litigation.’”

 Jacobson v. Fla. Sec’y of State, 974 F.3d 1236, 1245 (11th Cir. 2020) (quoting Lujan, 504

 U.S. at 561).

                 1.   CenterLink

        CenterLink brings claims against Duval, Orange, and Palm Beach Counties on its

 own behalf and on behalf of its affected member centers, the Jacksonville Area Sexual

 Minority Youth Network (“JASMYN”), the Orlando Youth Alliance (“OYA”), and Compass

 Community Center (“Compass”). “An organization can establish standing in two ways:

 (1) through its members (i.e., associational standing) and (2) through its own injury in fact

 that satisfies the traceability and redressability elements.” Ga. Ass’n of Latino Elected

 Offs., Inc. v. Gwinnett Cnty. Bd. of Registration & Elections, 36 F.4th 1100, 1114 (11th

 Cir. 2022). “An organization has standing to sue on its own behalf if it meets the standing

 requirements applicable to individuals.” Women’s Emergency Network v. Bush, 323 F.3d

 937, 948 n.13 (11th Cir. 2003) (citing Havens Realty Corp. v. Coleman, 455 U.S. 363,

 378–79 (1982)). “An organization has standing to enforce the rights of its members ‘when

 its members would otherwise have standing to sue in their own right, the interests at stake

 are germane to the organization’s purpose, and neither the claim asserted nor the relief

 requested requires the participation of individual members in the lawsuit.’” Fla. State Conf.

 of N.A.A.C.P. v. Browning, 522 F.3d 1153, 1160 (11th Cir. 2008) (quoting Friends of the

 Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167, 181 (2000)).

        With respect to its individual standing, CenterLink argues that it has suffered an

 injury in fact under the diversion of resources theory. “Under this theory, an organization

 has standing if the defendant’s illegal acts impair its ability to engage in its projects by




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 forcing the organization to divert resources to counteract those illegal acts.” Ga. Ass’n of

 Latino Elected Offs., 36 F.4th at 1114 (quotation omitted). “To establish standing under a

 diversion of resources theory, an organizational plaintiff must explain where it would have

 to ‘divert resources away from in order to spend additional resources on combating’ the

 effects of the defendant’s alleged conduct.” Id. (quoting Jacobson, 974 F.3d at 1250). In

 support of this argument, CenterLink’s chief executive officer states that CenterLink has

 “spent an average of four to eight hours per week since the passage of [section

 1001.42(8)(c)] responding to member inquiries and creating educational materials about

 the law[,]” which it otherwise would have directed toward providing services to its

 members. (Doc. 45-7, ¶¶ 11–12). Although certainly lacking in detail, at the pleading stage

 this is likely sufficient to allege an injury in fact for past harms. See Ga. Ass’n of Latino

 Elected Offs., 36 F.4th at 1115. Here, however, CenterLink is also seeking prospective

 relief. “[T]he Supreme Court has instructed that ‘standing is not dispensed in gross; rather,

 plaintiffs must demonstrate standing for each claim that they press and for each form of

 relief that they seek (for example, injunctive relief and damages).’” Bongiovanni v. Austin,

 No. 3:22-cv-237, 2022 WL 1642158, at *7 (M.D. Fla. May 24, 2022) (quoting TransUnion

 LLC v. Ramirez, 141 S. Ct. 2190, 2208, 2210–11 (2021)); see also Mack v. USAA Cas.

 Ins. Co., 994 F.3d 1353, 1356 (11th Cir. 2021). “That a plaintiff has standing to bring one

 claim does not save another claim for which he does not; ‘standing is not dispensed in

 gross.’” Mack, 994 F.3d at 1356 (quoting Lewis v. Casey, 518 U.S. 343, 358 n.6 (1996)).

 Thus, CenterLink must also establish an injury sufficient to support standing for

 prospective relief.




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        “When a plaintiff seeks prospective relief to prevent a future injury, it must establish

 that the threatened injury is certainly impending.” Indep. Party of Fla. v. Sec’y, State of

 Fla., 967 F.3d 1277, 1280 (11th Cir. 2020) (quotation omitted). Nothing in the First

 Amended Complaint or CenterLink’s Declaration state that it reasonably anticipates that

 it will continue to suffer the alleged harm into the future, and it is not reasonable to infer

 that questions regarding the content of the new law will continue indefinitely or that

 CenterLink will have to continue to divert resources to creating educational materials, as

 there have been no changes in the law since its passage and enactment. Thus, the Court

 is not satisfied that CenterLink has shown that the threatened injury of resource diversion

 is certainly impending at this juncture.

        Moreover, CenterLink’s injury must also be traceable to the actions of Defendants

 and redressable by a favorable ruling to confer Article III standing. Ga. Ass’n of Latino

 Elected Offs., 36 F.4th at 1115. First, “[t]he injury must be ‘fairly traceable to the

 challenged action of the defendant, and not the result of the independent action of some

 third party not before the court.’” Id. (quoting Lujan, 504 U.S. at 560–61). In their Reply,

 Plaintiffs argue that they have sufficiently established traceability because Defendants

 are the officials tasked with enforcement of the statute. However, the case relied on by

 Plaintiffs, including CenterLink, for the proposition that mere enforcement authority is

 sufficient clearly states that this, at most, applies where there has been an enforcement

 or threat of enforcement against the plaintiff that caused or could cause the alleged injury.

 Supporting Working Animals, Inc. v. Governor of Fla., 8 F.4th 1198, 1202–03 (11th Cir.

 2021). CenterLink has not alleged or shown that Duval, Orange, or Palm Beach Counties

 have enforced the law against CenterLink, have the authority to enforce the law against




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 CenterLink in any way, or have threated to do so. Moreover, the harm that CenterLink

 seeks to vindicate—diversion of resources—is in response to the existence of the law

 itself “and the economic consequences that its passage has visited or will visit on” the

 organization, not any action to enforce the law or threat to enforce the law by Duval,

 Orange, or Palm Beach Counties. See id. at 1203. The Eleventh Circuit has clearly

 rejected standing in these circumstances. Id.

        Furthermore, CenterLink has also failed to establish that any harm it has suffered

 would be redressable by a favorable decision in this case. “Standing’s redressability

 requirement mandates that it be ‘likely, as opposed to merely speculative, that the injury

 will be redressed by a favorable decision.’” Id. at 1205 (quoting Lujan, 504 U.S. at 561).

 As set forth in the First Amended Complaint, JASMYN, OYA, and Compass are three of

 twenty-seven members in Florida alone. (Doc. 79, ¶ 82). Although the First Amended

 Complaint and CenterLink’s Declaration state that CenterLink has expended resources

 “responding to member inquires” and “calls for assistance from multiple Florida member

 centers[,]” neither the First Amended Complaint nor the Declaration state that any of those

 calls or requests came from JASMYN, OYA, or Compass or, assuming they did, what

 percentage of CenterLink’s resources were diverted as a result of responding to and

 educating JASMYN, OYA, and Compass as opposed to its other Florida members. (Id.

 ¶ 84; Doc. 45-7, ¶ 11). Thus, even if this Court enjoined Defendants from enforcing the

 law and ordered damages, CenterLink has failed to establish that such action would

 redress its alleged harm in this case. Accordingly, the Court finds that CenterLink has

 failed to establish Article III standing on its own behalf with respect to Duval, Orange, and

 Palm Beach Counties.




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       In the alternative, CenterLink asserts associational standing on behalf of JASMYN.

 (Doc. 45-4, ¶¶ 2, 4–5; Doc. 79, ¶¶ 16, 92–97). In 2021, JASMYN served over 1,200

 individuals between the ages of thirteen and twenty-nine and has over 150 members

 enrolled in the Duval County Public School system. (Doc. 45-4, ¶ 4). JASMYN also has a

 subcontract with Duval County to provide services under a grant that Duval County

 received from the Centers for Disease Control and Prevention. (Id. ¶ 9; Doc. 49-1 at 2).

 JASMYN’s subcontract with Duval County was renewed on August 1, 2022. (Doc. 49-1

 at 10–17).

       “[A]n association has standing to bring suit on behalf of its members when: (a) its

 members would otherwise have standing to sue in their own right; (b) the interests it seeks

 to protect are germane to the organization’s purpose; and (c) neither the claim asserted

 nor the relief requested requires the participation of individual members in the lawsuit.”

 Greater Birmingham Ministries v. Sec’y of State, Ala., 992 F.3d 1299, 1316 (11th Cir.

 2021) (quoting Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977)).

 Duval County argues that JASMYN lacks standing because it has not alleged an injury in

 fact and, therefore, CenterLink also lacks standing. In their Reply, Plaintiffs direct this

 Court to the Declaration of Cindy Watson on behalf of JASMYN for the following purported

 injuries: (1) meetings with Duval County were canceled in March, April, and May 2022,

 and regular meetings have not resumed; (2) a student referral was blocked “[w]ithin the

 first few weeks after [the law] was passed” and JASMYN has not received any further

 referrals; and (3) “[a]s a result of [the law],” JASMYN has had to reallocate staff and

 program resources “to respond to the increased fears and isolation of LGBTQ students.”

 (Doc. 45-4, ¶¶ 17, 22, 26).




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        With respect to JASMYN’s diversion of resources injury, the same analysis as set

 forth above applies. To be clear, JASMYN has not alleged or provided evidence that this

 diversion of resources is or is likely to be ongoing, that it is a result of any action by Duval

 County to enforce the law—as opposed to a consequence of the existence of the law

 itself—, or that an injunction against the enforcement of the law would redress the feelings

 of fear and isolation that it argues have resulted to students as a result of the law’s

 enactment.

        Turning to JASMYN’s other alleged injuries, even assuming that these were

 sufficient to constitute injuries under Article III, Plaintiffs have not adequately established

 traceability and redressability. First, JASMYN cites the cancelation of meetings in March,

 April, and May 2022, but the law did not become effective until July 2022. As set forth

 above, actions taken before the law went into effect cannot reasonably be said to be

 actions to enforce the law, which could not in fact be enforced until it became a law. See

 Supporting Working Animals, Inc., 8 F.4th at 1203. The same is true of the alleged referral

 that was blocked by Duval County shortly after the bill was passed. (Doc. 45-4, ¶ 22).

 Plaintiffs cannot seriously contend that an action taken before the law went into effect

 was a harm that is fairly traceable to the enforcement of the law, which could not yet be

 enforced. To the extent JASMYN cites the ongoing lack of meetings and referrals, it has

 offered nothing to indicate that this is the result of an effort to enforce the new law or how

 this would fall under any of the challenged provisions of the law, which prohibit

 “[c]lassroom instruction,” not meetings, teacher trainings, student leadership retreats

 sponsored and hosted by a third-party, or referrals for services outside of the classroom.




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 Instead, JASMYN, at most, offers a conclusory statement that the conduct of Duval

 County has changed in the months following the passing of the new provisions.

       Lastly, JASMYN offers no evidence or basis to find that an injunction against the

 enforcement of the new law would redress any prospective harms. Specifically, JASMYN

 has not provided any evidence or argument that, absent the new provisions of the law,

 Duval County would be required, or even inclined, to resume the monthly meetings or

 continue to make student referrals; JASMYN has not directed this Court to any legal

 requirement that Duval County would have to hold such meetings or make such referrals,

 while Duval County has affirmatively stated that it is not so required. (Doc. 49-1 at 4, 6,

 18). Therefore, the Court finds that CenterLink has likewise failed to establish

 associational standing with respect to its claims against Duval County.

       CenterLink claims associational standing against Orange County on behalf of

 OYA. OYA serves 240 youth members ages thirteen to twenty-three, with roughly ninety

 members enrolled in the Orange County Public School system. (Doc. 45-5, ¶ 10). OYA

 claims that it has been injured by the diversion of resources in responding to increased

 attendance at its support groups, advertising, and responding to media inquiries “as a

 result of th[e] new law.” (Id. ¶¶ 14–17; see also Doc. 67 at 4). For the same reasons set

 forth above regarding CenterLink and JASMYN’s diversion of resources injuries, OYA’s

 standing on this basis also fails. There is no indication that these expenditures of money

 and resources are or are likely to be ongoing, that the diversion is a result of any action

 by Orange County to enforce the law—as opposed to a consequence of the existence of

 the law itself—, or that an injunction against the enforcement of the law would redress the

 feelings of nervousness, anxiety, and distress that OYA argues students have




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 experienced as a result of the law’s enactment. (Doc. 45-5, ¶¶ 14–15 (noting that

 attendance at support groups has doubled “since [the law] has passed” and students are

 saying “that the bill has caused them to feel nervous and . . . given them a heightened

 sense of anxiety and distress” (emphasis added)), 17 (noting that “there has been a

 significant amount of capacity, time, and energy being diverted from [OYA’s] mission as

 a result of this new law” (emphasis added)); see also Doc. 45-7, ¶ 13(a)). Thus,

 CenterLink has likewise failed to allege associational standing with respect to its claims

 against Orange County.

       Lastly, CenterLink brings claims against Palm Beach County on behalf of

 Compass. Compass has over 147 youth members from ages seven through twenty-two,

 with ninety-three percent enrolled in Palm Beach County public schools. (Doc. 45-6, ¶ 8).

 CenterLink also bases its associational standing on Compass’s alleged diversion of

 resources injury. (Doc. 67 at 4; see also Doc. 45-6, ¶ 16; Doc. 45-7, ¶ 13(b)). For similar

 reasons as those regarding CenterLink, JASMYN, and OYA’s diversion of resources

 injuries, Compass’s standing on this basis also fails. As an initial matter, the chief

 executive officer of Compass does not actually state that any resources have been

 diverted. Instead, she states that the organization has seen an increased demand for its

 services that exceeds its current capacity. (Doc. 45-6, ¶¶ 16–19). However, this fails to

 “explain where [Compass] would have to divert resources away from in order to spend

 additional resources on combating” the effects of the law. Ga. Ass’n of Latino Elected

 Offs., 36 F.4th at 1114 (quotation omitted). Moreover, although the chief executive officer

 nominally blames Palm Beach County’s enforcement of the bill as the source of its injury,

 neither Compass nor CenterLink elaborate on specifically what actions to enforce the law




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 after July 1, 2022, have caused the alleged diversion of resources. (See Doc. 45-6, ¶ 16;

 Doc. 45-7, ¶ 13(b)). Instead, CenterLink argues that the diversion of resources is the

 result of the existence of the law itself and does not argue that Palm Beach County has

 taken, or threatened to take, any actions that have resulted in a diversion of resources for

 Compass. 3 (Doc. 45-7, ¶ 13(b)). Furthermore, neither CenterLink nor Compass have

 alleged or argued that an injunction against the enforcement of the law would redress the

 feelings of erasure for students and the anxiety and distress for parents that Compass

 argues have resulted because of the law’s enactment. (Doc. 45-6, ¶¶ 17, 27, 31).

 Accordingly, CenterLink has likewise failed to show that it has associational standing with

 respect to its claims against Palm Beach County.

               2.     Parent and Student Plaintiffs

        Plaintiffs David Dinan and Vikranth Reddy Gongidi bring claims against Indian

 River County on their own behalf and on behalf of their minor children, K.R.D. and R.R.D.

 Dinan and Gongidi are a married same-sex couple. (Doc. 79, ¶ 15). R.R.D. and K.R.D.

 are Dinan and Gongidi’s adopted children and are currently in the third and fourth grade,

 respectively, in the Indian River County public school system. (Id. ¶¶ 72–73). In his

 Declaration in support of the Motion for Preliminary Injunction, Dinan states that he and

 Gongidi have been harmed by the new law because it causes them to self-censor during

 school activities. (Doc. 45-3, ¶ 7). For example, while chaperoning K.R.D.’s field trip




        3 Although the First Amended Complaint and the Compass Declaration appear to
 allege that Palm Beach County has taken enforcement actions that have impacted
 Compass’s members, CenterLink does not rely on this as a basis to support its standing
 in either its Reply or Declaration. Accordingly, because CenterLink bears the burden of
 establishing standing, the Court limits its analysis to the arguments and evidence actually
 presented and advanced by CenterLink. See Lujan, 504 U.S. at 561.



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 during the 2021–2022 school year, Dinan states that he “felt chilled and unable to mention

 my husband” due to the passage of the new law. (Id.). Additionally, Dinan claims that he

 asked R.R.D. not to share details about a family trip to London for a pride festival upon

 his return to school this year because it could prompt discussion of sexual orientation. (Id.

 ¶ 8). Dinan also states that he and his husband have begun to mind their appearance and

 censor expression while attending school events to avoid being “deemed ‘inappropriate’

 by [other] parents[.]” (Id. ¶ 10).

        In their Reply, Plaintiffs argue that the Parent and Student Plaintiffs have

 established an injury in fact because they have shown that a reasonable person would

 feel that their speech was chilled by section 1001.42(8)(c). In the First Amendment

 context, “an actual injury can exist when the plaintiff is chilled from exercising her right to

 free expression or forgoes expression in order to avoid enforcement consequences. In

 such an instance . . . , the injury is self-censorship.” Harrell v. The Fla. Bar, 608 F.3d

 1241, 1254 (11th Cir. 2010) (quotation omitted). “To determine whether a plaintiff bringing

 a First Amendment free speech claim established an imminent injury, ‘we simply ask

 whether the operation or enforcement of the government policy would cause a reasonable

 would-be speaker to self-censor—even where the policy falls short of a direct prohibition

 against the exercise of First Amendment rights.’” Henry v. Att’y Gen., Ala., 45 F.4th 1272,

 1288 (11th Cir. 2022) (quoting Speech First, Inc., 32 F.4th at 1120). Furthermore, to the

 extent that Plaintiffs are seeking prospective relief, they “must show a sufficient likelihood

 that [they] will be affected by the allegedly unlawful conduct in the future.” Koziara v. City

 of Casselberry, 392 F.3d 1302, 1305 (11th Cir. 2004) (quotation omitted).




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        First, Plaintiffs have made no allegation that K.R.D.’s speech has been chilled or

 likely will be chilled in the future. Neither the First Amended Complaint nor Dinan’s

 Declaration state that K.R.D. has felt chilled, expressed a desire to exercise any right to

 speak on issues of sexual orientation or gender identity at school or that, if K.R.D. did so,

 it would not be in an age and developmentally appropriate manner. The same is true of

 Dinan and Gongidi. Although they make vague allegations regarding their self-censorship

 at school events before the law went into effect, they fail to state any detail as to how they

 wished to exercise their rights since the law actually went into effect or might wish to

 exercise their rights in the future. “[G]eneralizations” and the “mere assertion of a chill”

 without “any detail, such as when, where, or how he intends to exercise his right to free

 speech in the future, that illuminates the specifics of his claimed injury . . . is insufficient

 to demonstrate an injury in fact[.]” Dermer v. Miami-Dade Cnty., 599 F.3d 1217, 1220–21

 (11th Cir. 2010); see also Shift v. Gwinnett Cnty., No. 1:19-cv-01135, 2020 WL 864938,

 at *3 (N.D. Ga. Feb. 12, 2020); Lacroix v. Lee Cnty, No. 2:18-cv-143-FtM, 2018 WL

 3536173, at *5 (M.D. Fla. July 23, 2018). On this basis alone, K.R.D., Dinan, and Gongidi

 have failed to allege an injury in fact.

        Second, R.R.D’s purported self-censorship (at his parent’s direction) regarding his

 family vacation—and any possible self-censorship by K.R.D., Dinan, and Gongidi in their

 dress and general family discussion—do not amount to a cognizable injury as currently

 alleged. The relevant question is whether the “operation or enforcement of the

 government policy would cause a reasonable would-be speaker to self-censor[.]” Speech

 First, Inc., 32 F.4th at 1120 (citations and quotations omitted). Here, Plaintiffs have not

 alleged any non-conclusory facts to show that a reasonable would-be speaker would feel




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 compelled to self-censor. To be clear, the law only prohibits “classroom instruction by

 school personnel or third parties.” Fla. Stat. § 1001.42(8)(c)(3). Regardless of the alleged

 vagueness of the term “classroom instruction,” Plaintiffs have not directed this Court to

 any fact that would lead a reasonable person to believe that the law prohibits students

 from discussing their families and vacations at school or even on a school assignment,

 or that it would prohibit a parent from attending a school function in a “pride” t-shirt or

 generally discussing their family structure in front of other people. Moreover, Dinan states

 that he fears reprisal from other parents for such speech, but the law unquestionably does

 not permit one parent to sue another for inappropriate dress at a school function. Simply

 put, Plaintiffs have failed to provide anything more than vague and conclusory allegations

 that fail to state how they wish to exercise their First Amendment rights now or in the

 future and how doing so would arguably be proscribed by section 1001.42(8)(c). Thus,

 these Plaintiffs have fallen short of establishing standing to assert a First Amendment

 claim for chilled speech against Indian River County. 4




        4  The Court notes that Plaintiffs have only addressed standing under the First
 Amendment and their theory that the new law impermissibly chills speech. (Doc. 67 at 1–
 2 & n.5). Because the Court has already determined that the First Amended Complaint
 constitutes a shotgun pleading, and because the Court will grant Plaintiffs leave to amend
 in an effort to correct both the shotgun and standing issues, the Court declines to sua
 sponte address Plaintiffs’ standing under the remaining First Amendment claims or their
 Fourteenth Amendment claims. Nevertheless, the Court notes that it has concerns
 regarding Plaintiffs’ standing with respect to these claims as well because, again,
 Plaintiffs have offered little more than conclusory allegations of conduct that occurred
 after the enactment of section 1001.42(8)(c) that is attributable to the actions of
 Defendants, or that they intend to engage in conduct that would arguably subject them to
 punishment or discrimination as a result of the new law. See Ladies Mem’l Ass’n v. City
 of Pensacola, 34 F.4th 988, 992–93 (11th Cir. 2022); Harrel, 608 F.3d at 1254; Bischoff
 v. Osceola Cnty., 222 F.3d 874, 884 (11th Cir. 2000).



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        Plaintiffs Jennifer and Matthew Cousins bring claims against Orange County on

 their own behalf and on behalf of their minor children. Each of their children attend public

 schools in Orange County—P.C. in first grade, M.C. in third grade, S.C. in seventh grade,

 and N.C. in ninth grade. (Doc. 45-1, ¶ 3). S.C. recently came out, including at school, as

 gender non-binary. (Id. ¶¶ 5–6). Jennifer Cousins alleges that she, her husband, and her

 children have been or will be harmed by Orange County’s enforcement of the new law

 because it will chill the speech of her children at school, cause S.C. to experience

 increased bullying by S.C.’s peers, and potentially prohibit schools from providing clubs

 supporting the LGBTQ+ community. (Id. ¶¶ 8–11, 17, 19–22).

        As an initial matter, for the reasons set forth above as to the Parent and Student

 Plaintiffs in Indian River County, the Orange County Plaintiffs have likewise failed to

 provide anything more than generalizations regarding their intentions to engage in speech

 at school that is even arguably prohibited under the new law. Jennifer and Matthew

 Cousins have not argued or alleged that they feel that their speech has been chilled or

 that they have any intention of attempting to offer instruction on topics of sexual

 orientation or gender identity in an Orange County public school now or in the future.

 Additionally, the First Amended Complaint and Jennifer Cousins’s Declaration make only

 passing reference to N.C. and the generalized statements that he does not feel that his

 school will be safe this year and that he will have to “censor [him]self from discussing [his]

 sibling[.]” (Doc. 45-1, ¶ 21; Doc. 79, ¶ 59). These statements fall far short of providing

 sufficient specificity of how, when, or where these Plaintiffs intend to engage in speech

 that is arguably chilled under the new law.




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        Similarly, as to P.C. and M.C., Plaintiffs have only alleged that P.C. and M.C. are

 afraid that they will be prohibited from discussing S.C. at school and completing school

 assignments. (Doc. 45-1, ¶¶ 8, 21). They also assert that S.C. will be prevented from

 discussing S.C.’s identity in class. (Doc. 79, ¶¶ 53–56). These generalized statements

 and concerns fall short of showing that P.C., M.C., or S.C. have or are likely to suffer an

 injury in fact as the result of chilled speech. Even assuming that P.C., M.C., S.C, and

 N.C.’s threadbare allegations regarding their intention or desire to exercise their First

 Amendment rights were adequate, Plaintiffs fail to state how this would constitute

 classroom instruction even under the most liberal reading of the statute. Furthermore,

 with respect to S.C. and N.C., Plaintiffs fail to state how, even if simply discussing S.C. in

 class or on a classroom assignment could constitute classroom instruction within the

 meaning of section 1001.42(8)(c), such statements or comments would not be age and

 developmentally appropriate for seventh or ninth grade students.

        Insofar as the Cousins’ claims are instead based on their fear that S.C. will be

 subjected to greater bullying and public schools will no longer be able to offer certain

 clubs and groups, Plaintiffs fail to state how this would confer standing. First, the Cousins

 Plaintiffs have not pointed this Court to any policy or procedure from Orange County that

 they allege has resulted in any increase in bullying that S.C. might experience at school.

 While the Court is sympathetic to the Cousins’ fear that their child may be bullied, it is

 simply a fact of life that many middle school students will face the criticism and harsh

 judgment of their peers. S.C. is not alone in this regard. Indeed, middle school children

 bully and belittle their classmates for a whole host of reasons, all of which are

 unacceptable, and many of which have nothing to do with a classmate’s gender identity.




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 Here, S.C. has failed to allege any facts demonstrating that the actions of S.C.’s peers

 have resulted in an injury to a legally protected interest or are a result of, or directly related

 to, any enforcement actions taken by Orange County. Second, any allegation that the

 public schools may be prevented from offering certain clubs and services fails to apprise

 this Court of how this chills Plaintiffs’ speech or otherwise amounts to a constitutional

 deprivation of rights. Therefore, the Court finds that the Cousins Plaintiffs have also fallen

 short of establishing standing in this case.

        Finally, Plaintiff Will Larkins, a senior in an Orange County public school, brings

 claims against Orange County through his next of kin. (Doc. 45-2, ¶ 2). Larkins identifies

 as gay and non-binary. (Id.). With respect to speech, Larkins states that he is concerned

 that he “won’t be able to educate [his] peers on LGBTQ+ history, culture, and issues[.]”

 (Id. ¶ 19; see also Doc. 79, ¶ 68). However, Larkins’s allegations, like the other Parent

 and Student Plaintiffs, fall short of providing the factual support necessary to confer

 standing under the First Amendment. Larkins has not stated how, when, or where he

 would like to provide such education. A generalized desire to discuss issues relevant to

 the LGBTQ+ community is not sufficient. Additionally, it is not clear to the Court how this

 would arguably constitute classroom instruction within the meaning of the new law and

 how, even if it did, such desired communication would not be age and developmentally

 appropriate for high school students. To the extent Larkins directs this Court to past

 discipline, the Court reiterates that such actions by Orange County could not have been

 in the enforcement of section 1001.42(8)(c), which was not yet law when the discipline

 occurred. Thus, for the reasons discussed with respect to the other Parent and Student




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 Plaintiffs, Larkins has also failed to show a sufficient injury to confer standing in this

 matter. 5

        C.     Irreparable Harm, Harm to Defendant, and Public Interest

        Having determined that Plaintiffs have failed to show a likelihood of success on the

 merits and to establish jurisdiction for their claims, this Court need not address the

 remaining prongs of the preliminary injunction test. See Snook v. Tr. Co. of Ga. Bank of

 Savannah, N.A., 909 F.2d 480, 487 (11th Cir. 1990) (“Having determined that the district

 court acted within its discretion in finding no irreparable injury, we need not address the

 balance of harm between the plaintiffs and the trustees or whether the public interest

 would be disserved by a grant of injunctive relief.” (citing Ne. Fla. Chapter of Ass’n of

 Gen. Contractors of Am. v. City of Jacksonville, 896 F.2d 1283, 1285 (11th Cir. 1990)));

 Help at Home, Inc. v. CAM Enters., LLC, No. 14-80255-Civ, 2014 WL 12300316, at *1

 (S.D. Fla. Aug. 8, 2014) (“In determining whether a preliminary injunction is appropriate,

 if a court determines that a plaintiff has failed to demonstrate any one of the four factors,

 it need not address the other three.”), report and recommendation adopted, 2014 WL

 12279516 (S.D. Fla. Sept. 17, 2014).

        Nevertheless, the Court notes that the majority of the harm that Plaintiffs allege

 they have suffered occurred between March and May 2022, but the Complaint was not



        5 The Court also notes that at least a portion of Larkins’s claims may run afoul of
 the mootness doctrine in the future to the extent that Larkins seeks prospective
 declaratory and injunctive relief. “[C]laims by students against educational institutions, at
 least to the extent they seek declaratory and injunctive relief, are often moot once a
 student graduates because he or she will no longer be subject to the school action or
 policy challenged in the litigation.” Lambert v. Bd. of Trs. of Univ. of Ala., No. 2:18-cv-
 1112, 2019 WL 339178, at *6 (N.D. Ala. Jan. 28, 2019) (collecting cases). This case is
 currently set for trial in the October 2024 trial term, (Doc. 75 at 2), nearly a year and a half
 after Larkins’s anticipated graduation from high school.



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 filed until July 25, 2022, and the Motion for Preliminary Injunction was not filed until August

 26, 2022, several months after Plaintiffs allege they began to suffer harm as a result of

 the new law and nearly two months after the law went into effect. Even if these harms

 were a proper basis for relief on the merits, the Eleventh Circuit has clearly stated that

 such delays in seeking injunctive relief militate against a finding of irreparable harm. See

 Wreal, LLC v. Amazon.com, Inc., 840 F.3d 1244, 1248 (11th Cir. 2016); see also InVue

 Sec. Prods. Inc. v. Vanguard Prods. Grp., Inc., No. 8:18-cv-2548-T-33SPF, 2019 WL

 4671143, at *6 (M.D. Fla. July 1, 2019) (“As such, it is not uncommon for courts to deny

 a preliminary injunction in the face of unexplained delays of more than two months.”),

 report and recommendation adopted, 2019 WL 4673755 (M.D. Fla. Aug. 15, 2019); Tiber

 Labs., LLC v. Hawthorn Pharm., Inc., 527 F. Supp. 2d 1373, 1381 (N.D. Ga. 2007)

 (“Where the movant ‘unduly delayed in bringing suit,’ however, ‘thereby negating the idea

 of irreparability,’ a preliminary injunction should not issue.” (quoting Polymer Techs., Inc.

 v. Bridwell, 103 F.3d 970, 974 (Fed. Cir. 1996))).

        D.     Dismissal and Leave to Amend

        Because Plaintiffs have failed to establish standing as to the claims alleged in the

 First Amended Complaint and because the First Amended Complaint constitutes an

 impermissible shotgun pleading, the Court can and will dismiss the First Amended

 Complaint in its entirety. See Fla. Wildlife Fed’n, Inc. v. S. Fla. Water Mgmt. Dist., 647

 F.3d 1296, 1302 (11th Cir. 2011); Ferrell, 311 F. App’x at 259 n.8. Nevertheless, since it

 is not clear that at least some Plaintiffs cannot establish standing for at least a portion of

 their claims, the Court is inclined to grant Plaintiffs one opportunity to file an amended

 pleading. However, Plaintiffs are cautioned that failure to correct the deficiencies noted in




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 this Order and to adequately establish standing as to each Plaintiff for each alleged

 constitutional violation and form of relief may result in the dismissal of this case without

 further leave to amend.

 IV.    CONCLUSION

        For the reasons set forth herein, it is ORDERED and ADJUDGED as follows:

           1. Plaintiffs’ Motion for Preliminary Injunction (Doc. 45) is DENIED.

           2. The First Amended Complaint (Doc. 79) is DISMISSED without prejudice.

           3. On or before November 3, 2022, Plaintiffs may file an amended complaint

               in accordance with this Order. Failure to timely file an amended pleading

               that corrects the deficiencies noted herein may result in the dismissal of this

               action without further notice.

        DONE AND ORDERED in Orlando, Florida on October 20, 2022.




 Copies furnished to:

 Counsel of Record




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